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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK
PAMELLA CORTES, LETICIA GONZALEZ, and
ARIANA REYES, on behalf of themselves and others
similarly situated, Case No. 1:17-C V-03942

 

Plaintiffs,
-against- AFFIDAVIT IN SUPPORT OF

MOTION TO WITHRAW

JUQUILA MEXICAN CUISINE CORP. d/b/a JUQUILA
MEXICAN CUISINE, JUQUILA KITCHEN AND BAR
CORP. d/b/a JUQUILA KITCHEN & BAR, TEOFILA
MENDEZ, and CRISTOBAL BONILLA,

Defendants.

 

 

STATE OF NEW YORK )
COUNTY OF QUEENS ~

CRISTOBAL BONILLA, being duly sworn deposes and says:

1. I am personally named as a defendant in this action. In addition, I am the owner of
JUQUILA MEXICAN CUISINE CORP. d/b/a JUQUILA MEXICAN CUISINE., which is the only
remaining corporate defendant in this case. I have also consulted with my wife, defendant
TEOFILA MENDEZ, regarding the instant matter. Thus, I speak for all the remaining defendants
in this case (hereinafter “Defendants”).

Z. I submit this affidavit in support of the motion by my current counsel, the Law

Offices of Martin E. Restituyo, P.C. (“Defendants’ Counsel”) to withdraw from this action.

3. Defendants’ Counsel and I have divergent and irreconcilable views on the
appropriate strategy to employ in this litigation, and recent communications have further

confirmed the erosion of the attorney-client relationship.
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4. I explained that I will not pay for any subsequent legal work that Defendants’
Counsel may perform on Defendants’ behalf and Defendants’ Counsel should not expect to be
compensated for work performed on the trial of this action.

5. Therefore, for the above referenced reasons, I consent to the withdrawal of my
current legal counsel.

6. In addition, I request time to find alternate counsel to represent the Defendants in

this matter.

 

 

Sworn before me this
17™ day of August 2018

RENZO C CHUMBIAUCA
Notary Public, State of New York
Registration #01CH6304744
- .. « ~ Qualified In Queens County
~~ Commission Expires June 2, 2022

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